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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. Nos. 1359, 1435 & 1477


                                    CERTIFICATION OF COUNSEL

         I, Kimberly A. Brown, counsel to FTX Trading and its affiliated debtors and debtors-in-

possession (the “Debtors”), hereby certify as follows to the best of my knowledge, information

and belief:

         1.       On April 26, 2023, the Debtors filed with the United States Bankruptcy Court for

the District of Delaware (the “Court”) the Motion of Debtors for Entry of an Order Authorizing

Implementation of a Key Employee Incentive Plan [D.I. 1359] (the “Motion”) 2.

         2.       On May 4, 2023, the Debtors filed the Notice of Revised Proposed Order

[D.I. 1435], attaching as Exhibit A thereto a revised proposed form of order (the “Proposed

Order”).

         3.       On May 11, 2023, the Office of the United States Trustee (the “U.S. Trustee”) filed

the United States Trustee’s Objection to Motion of Debtors for Entry of an Order Authorizing

Implementation of a Key Employee Incentive Plan [D.I. 1477] (the “Objection”).




1   The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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    Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the Motion.


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         4.       To resolve the Objection, the Debtors have further revised the Proposed Order (the

“Revised Order”), a copy of which is attached hereto as Exhibit A. A copy of the Revised Order

compared against the Proposed Order is attached hereto as Exhibit B.

         5.       The Revised Order has been circulated to the U.S. Trustee and the Official

Committee of Unsecured Creditors appointed in these chapter 11 cases (the “Committee”). The

U.S. Trustee and the Committee have no objection to the entry of the Revised Order. In accordance

with the Court’s electronic order processing procedures, a clean copy of the Revised Order shall

be uploaded to CM/ECF.

         6.       Accordingly, the Debtors respectfully request that the Court enter the Revised

Order at its earliest convenience.




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